 Case 2:24-mj-00111-DEM Document 1 Filed 06/14/24 Page 1 of 2 PageID# 1                      r


                                                                                                            FILED

                                 IN    THE    UNITED    STATES    DISTRICT       COURT
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                                                                                                          JUN 1 4 2024
                                 FOR    THE   EASTERN       DISTRICT   OF      VIRGINIA

                                                                                                   CLilFuN, U.S. niSrniGT COURT
                                                   NORFOLK    DIVISION
                                                                                                            NOR-01,K. VA

UNITED     STATES      OF   AMERICA


         V .                                            Case
                                                        Court
                                                                No
                                                                     ●Q-2Tnri)lll
                                                                 Date:     July 11, 2024

JAMIE    E.    JONES


                                              CRIMINAL       INFORMATION


                                 (Misdemeanor)           Violation       No.    E1188926


         THE    UNITED       STATES    ATTORNEY      CHARGES:


         That on or about April               9,    2024,    at Joint Expeditionary Base                 Little

Creek,     Virginia Beach,            Virginia,      on lands acquired for the use of the United

States and within the special maritime and territorial jurisdiction thereof

in the Eastern District                of Virginia,         the defendant,        JAMIE E.       JONES,    did

willfully and knowingly steal and purloin property of the United States of a

value    less    than       $1,000.00.

         (In violation of Title               18,    United States Code,           Section       641.)

                                                       COUNT    TWO
                                                    (Misdemeanor)

         THE    UNITED       STATES    ATTORNEY      CHARGES:


         That on or about April               9,    2024,    at Joint Expeditionary Base Little

Creek,     Virginia Beach,            Virginia,      on lands acquired for the use of the United

States and within the special maritime and territorial jurisdiction thereof

in   the Eastern        District of Virginia            the defendant,           JAMIE E.    JONES,       did

unlavjfully enter upon a naval installation                          for a purpose prohibited by law or

lawful     regulation.

         (In violation          of Title      18,    United States       Code,     Section       1382.)
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                                       Respectfully submitted,

                                       Jessica        D.    Aber
                                       United States Attorney



                              By:                                  7
                                       Alan     M.    Sides
                                       Special Assistant U.S. Attorney
                                       Office of the             U.S.   Attorney
                                       101 West Main Street,                Suite 8000
                                       Norfolk, VA   23510
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                            CERTIFICATE        OF    MAILING


       I hereby certify that on the date indicated below, I caused a true and
correct copy of the foregoing Criminal Information to be mailed, postage
prepaid, to the defendant in the above-styled case.



                              Alan   M.    Sides           7^
                              Special Assistant U.S.                   Attorney
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                                     17 June 2024
                              Date
